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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF VIRGINIA
Richmond Division
LULA WILLIAMS, et al.,
Plaintiffs,

Vv. Civil Action No. 3:17cv461

BIG PICTURE LOANS, LLC,
et al.,

Defendants.

ORDER

Having considered the PLAINTIFFS’ MOTION TO COMPEL (ECF No.
556), the supporting, opposing and reply memoranda (ECF Nos. 557,
580, and 598) and finding that a privilege log was served by
Rosette, LLP on  ~<June 17, 2019, and that there was a
misunderstanding respecting the timing of the filing of said
motion, and further finding that the Court has vacated the
MEMORANDUM OPINION dated May 3, 2019 and ORDER (ECF Nos. 478 and
479), it is hereby ORDERED that the PLAINTIFFS’ MOTION TO COMPEL
(ECF No. 556) is denied as moot, as respects the production of a
privilege log and without prejudice as respects production of the
requested documents in the event that such production is
appropriate based upon the resolution of pending motions to compel

relating to waiver of the attorney-client privilege.
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It is further ORDERED that the facts and legal contentions are
adequately presented in the materials before the Court and oral
argument would not aid the decisional process.

It is so ORDERED.

/s/ psf?
Robert E. Payne ,

Senior United States District Judge

Richmond, Virginia
Date: April | , 2021
